Pro Se 1 (Rev. 12/16) Complaint for a Civil Case



                                        UNITED STATES DISTRICT COURT
                                                     Eastern                 TENNESSE
                                                      Eastern District of Tennessee

                                                               Greeneville Division


                                                                         )   Case No.      2:22-CV-118
                    Kelsie C. Meeks                                      )                  (to be filled in by the Clerk’s Office)
                                                                         )
                              Plaintiff(s)                               )
(Write the full name of each plaintiff who is filing this complaint.     )
If the names of all the plaintiffs cannot fit in the space above,
                                                                             Jury Trial: (check one)     ✔
                                                                                                         u Yes        u No
please write “see attached” in the space and attach an additional        )
page with the full list of names.)                                       )
                                  -v-                                    )
                                                                         )
                                                                         )
                   SEE ATTACHED                                          )
                                                                         )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                         )
names of all the defendants cannot fit in the space above, please        )
write “see attached” in the space and attach an additional page          )
with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   KELSIE C. MEEKS
                                Street Address                         505 PAUL ST
                                City and County                        GREENEVILLE, GREENE COUNTY
                                State and Zip Code                     TENNESSEE 37743
                                Telephone Number                       423-440-4475
                                E-mail Address                         meeks.kc@outlook.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


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                     Defendant No. 1
                                Name                        RAYMOND V. JOHNSON
                                Job or Title (if known)     DRIVER-OPERATOR
                                Street Address              527 W FORT HILL ST
                                City and County             LOUDON, LOUDON COUNTY
                                State and Zip Code          TENNESSEE, 37774
                                Telephone Number            UNKNOWN
                                E-mail Address (if known)   UNKNOWN

                     Defendant No. 2
                                Name                        AMERICAN WHOLESALE BOOK COMPANY INC.
                                Job or Title (if known)     COMMERCIAL CARRIER
                                Street Address              4350 BRYSON BLVD
                                City and County             FLORENCE, LAUDERDALE COUNTY
                                State and Zip Code          ALABAMA, 35630
                                Telephone Number            256-718-8356
                                E-mail Address (if known)   UNKNOWN

                     Defendant No. 3
                                Name                        BOOKS-A-MILLION INC
                                Job or Title (if known)     UNKNOWN
                                Street Address              402 INDUSTRIAL LN
                                City and County             BIRMINGHAM, JEFFERSON COUNTY
                                State and Zip Code          ALABAMA, 35211
                                Telephone Number             865-691-2665
                                E-mail Address (if known)    UNKNOWN

                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                   u Federal question                              ✔
                                                                   X u Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)        KELSIE C. MEEKS                             , is a citizen of the
                                           State of (name)         TENNESSEE                                .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                           under the laws of the State of (name)                                                            ,
                                           and has its principal place of business in the State of (name)
                                                                                            .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)           RAYMOND V. JOHNSON                       , is a citizen of
                                           the State of (name)        TENNESSEE                                 . Or is a citizen of
                                           (foreign nation)                                       .

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                                b.         If the defendant is a corporation
                                           The defendant, (name                  SEE ATTATCHED          , is incorporated under
                                           the laws of the State of (name)                                        , and has its
                                           principal place of business in the State of (name)                                     .
                                           Or is incorporated under the laws of (foreign nation)                                  ,
                                           and has its principal place of business in (name)                                      .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):
                                   AMOUNT IN CONTROVERSY IS APPROXIMATELY $1 MILLION FOR
                                   LOSSES OF WAGES, PERSONAL INJURIES, AND PERMANENT INJURIES TO
                                   THE BODY AS A WHOLE.


III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

               On September 29, 2021the plaintiff was traveling North on 11E in a 2021 Nissan Sentra In Greeneville,
            Greene County. Approaching a green light was struck on the front passenger side by the driver, Raymond V.
            Johnson driving an 18 wheeler transfer truck, Which was approaching the defendant on the plaintiffs right
            side, exiting the 81 I 81 N. off ramp, and running the red light, striking the defendant, and totaling her car,
            and causing the plaintive serious and disabling injuries.


IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
              The plaintiff, Kelsie Meeks, was injured by the defendants, in the following manner; her arm was
         broken in three places, her elbow badly injured, a concussion, it sliced her right hand open in two places,
         reinjured her left hand that was broken, caused lacerations on her chest, busted her lip, chipped one tooth,
         broke off a front tooth, and cracked four surrounding front teeth. plaintiffs left hand, elbow,
         fingers and arm, are permanently damage. The plaintiff can not further her career of choice due to risking
         her arm of becoming permantly imobilized. A risk that she now permanetly will fear. She was approved
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           by orthopedic surgeon to return to work 8 months after accident, with only a maximum 5-10 pound lifting
            restriction. Plaintiffs present and future medicals, pain and suffering, and disabilities are estimated in the
           $1 million dollar range.




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk¶s Office with any changes to my address where case±related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk¶s Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff

          B.         For Attorneys

                     Date of signing:              September 28, 2021

                     Signature of Attorney                 s/ William H. Bell
                     Printed Name of Attorney              William H. Bell
                     Bar Number                            006363
                     Name of Law Firm                       William H. Bell Attorney at Law
                     Street Address                         102 W. Mckee St
                     State and Zip Code                     Tennessee, 37743
                     Telephone Number                      423-639-7730
                     E-mail Address                        whbell944@gmail.com




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         Print                         Save As...             Add Attachment                                     Reset
